Case 20-02165-CMB            Doc 8   Filed 12/02/20 Entered 12/03/20 09:48:50           Desc Main
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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:
                                                      BANKRUPTCY NO. 20-22606-
 THE INGROS FAMILY LLC,                               CMB

                Debtor.                               ADVERSARY NO. 20-02184-CMB

                                                                  AND
 ENTERPRISE BANK,
                                                      ADVERSARY NO. 20-02165-CMB
                Plaintiff,
                                                      CHAPTER 11
          vs.

 THE INGROS FAMILY LLC a/k/a
 INGROS FAMILY LLC and RYAN
 SHARBONNO

                Defendants.


                               CONSENT ORDER OF COURT

       AND NOW, to-wit, this ____________
                                2nd                 December
                                          day of _____________________,    20
                                                                        20___,

with the consent of the parties to the within action, as evidenced by their respective counsel’s

signature, and in consideration of the Motion to Dismiss filed by Ryan D. Sharbonno

contending that the action removed by the Debtor to this Court pending at Adversary Docket

No. 20-02165-CMB is a prior pending action asserting the same causes of action and

requests for relief as set forth in the Complaint in the within Adversary Proceeding, and it

appearing to the Court that the causes of action and relief requested at Adversary No. 02-*

02184-CMB and No. 20-02165-CMB are identical, it is hereby ORDERED that this

Adversary Proceeding, at Docket No.20-02184-CMB shall be, and is hereby, consolidated

and merged with the Adversary Proceeding now pending at Adversary Proceeding Docket

No. 20-02165-CMB.
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       Docket No. 20-2165 shall be the operative docket and the Pleadings filed at Docket

No. 20-02165 shall be the operative pleadings in the consolidated adversary proceedings. No

further Pleading is required at Adversary No. 20-02184-CMB. Debtor shall file a responsive

pleading to the Plaintiff’s Complaint at Adversary Proceeding No. 20-02165-CMB within 14

days of the date of this Order. This Order shall be docketed at both Adversary Nos. 20-

02184-CMB and 20-02165-CMB.

                                                    BY THE COURT:



                                                   _________________________________
                                                   ________________________
                                                   Carlota M. Böhm                   J.
CONSENTED TO:                                      Chief United States Bankruptcy Court Judge


       /s/ William Stang
William Stang, Esquire                                        FILED
Attorney for Enterprise Bank                                  12/2/20 5:13 pm
                                                              CLERK
                                                              U.S. BANKRUPTCY
       /s/ Laurel P. McKenna                                  COURT - WDPA
Lauren P. McKenna, Esquire
Attorney for Enterprise Bank


       /s/ Ryan Cooney
Ryan Cooney, Esquire
Attorney for The Ingros Family LLC a/k/a Ingros Family LLC

       /s/ Thomas E. Reilly
Thomas E. Reilly, Esquire
Attorney for Ryan D. Sharbonno

* The typographical error is corrected to refer to Adversary No. 20-02184.
